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                  Exhibit 6
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   Google Chromecast Audio Review



                                          4.5    Outstanding



   By Will Greenwald



   Updated December 14, 2015




   THE BOTTOM LINE



   With the simple, focused mission of making any speaker wireless, Google Chromecast Audio


   succeeds admirably and affordably.




   MSRP $35.00




   $79.96 at Walmart                                                                                                      See It




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   support our testing.




      PROS




            Inexpensive.



            Easy to set up.



            Can make any speaker or sound system Wi-Fi enabled and part of a multi-room setup.



            Multiple speaker configurations supported.



            High-resolution (96KHz/24bit) audio now supported.




      CONS




            Only works with 3.5mm connections out of the box.



            No support for stereo pairs.




https://www.pcmag.com/reviews/google-chromecast-audio                                                                                               1/9
6/29/23, 2:00 AM     Case 3:20-cv-06754-WHA                               Document   829-8 Audio
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   Google's Chromecast is an affordable, compelling media streamer that lets you watch video from



   your mobile devices on your television. But it only works with an HDMI connection, and that leaves



   anything without a big screen out of the game. Now Google has released the Chromecast Audio, a



   new variant designed solely to turn your speakers wireless for music streaming. It works just like



   the Chromecast, and has the same low $35 price tag, but it lacks video output and instead connects



   via a 3.5mm audio jack (with support for stereo RCA and optical audio). And, just like the original



   Chromecast, it does exactly what it claims to do, extremely well, and at a very reasonable price.




   Editors' Note: We have updated this review to reflect the addition of support for high-resolution



   audio and multi-speaker configurations to the Chromecast Audio. As a result, the score has been



   increased from 4 to 4.5 stars.




   Design




   The Chromecast Audio is a small, black plastic puck about the size of a poker dealer's chip. One side



   is textured with concentric rings around a Google logo, to give the impression of a tiny vinyl record.



   The other side is a matte gray plastic. A 3.5mm port sits on the edge of the puck (a short, bright



   yellow 3.5mm cable is included). There's a micro USB port opposite the 3.5mm port, flanked by a



   small Reset button and an indicator light. The micro USB port is solely for powering the device with



   the included cable and wall adapter.




   SIMILAR         PRODUCTS




                          4.0 Excellent                                4.0 Excellent                           4.5 Outs




     Google Chromecast (2013)                      Google Chromecast                       Amazon Fire TV




     Read Our Google Chromecast                    $38.96 at Walmart


     (2013) Review


                                                                                               Check Stock


                                                      See It




                                                                                           Read Our Amazon Fire TV


                                                   Read Our Google Chromecast



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            Google Chromecast Audio Review




   Setup




   Without a connected screen on which to display information, the Chromecast Audio doesn't guide



   you quite as directly through the setup process as the original Chromecast, but it's still rather



   simple. Connect the Chromecast Audio to the 3.5mm input of your speaker or sound system, plug



   the micro USB port into the included wall charger, and plug the charger into the wall. Load the free



   Chromecast app on Android or iOS phone or tablet and choose "Set Up a New Device." Tap



   Chromecast Audio, and the app will walk you through the setup process and get you connected to



   your Wi-Fi network.




                                               ADVERTISEMENT




   Multi-Room Audio




   You can name different Chromecast Audio devices after different rooms in the house and jump



   between them in compatible apps. At launch, the Chromecast Audio didn't support streaming



   music to multiple speakers at once, but that feature has recently been added, putting the device's



   flexibility closer to the standards set by wireless audio systems from Sonos   ($199.00 at Sonos)



    and Bose   ( at Amazon) . You can now group more than one speaker together and play music on



   several in the same room, or simultaneously to every connected speaker in the house. You can't



   split channels apart to different speakers for dedicated stereo pairs, however.




   On paper, you can connect the Chromecast Audio to a stereo speaker system or A/V receiver with



   stereo RCA or optical audio cables, but those connections require additional adapters, since the



   Chromecast Audio only comes with a 3.5mm patch cable for the aux input found on most speakers.



   3.5mm-to-stereo-RCA and 3.5mm (mini toslink)-to-optical adapters are inexpensive and easy to




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   find, but the options would have been nice to get in the box instead of just the little 3.5mm-to-3.5mm



   cable.




   Google Cast




   Once it's set up, streaming music to your Chromecast Audio-connected speaker is just like



   streaming video to your Chromecast-connected HDTV. Any Android, iOS, or Chrome app or



   extension that supports Google Cast will show the Chromecast Audio as a device you can cast to.



   Just tap it to send whatever you're listening to in the app to the speaker. All media navigation and



   control is performed entirely through your smartphone, tablet, or PC; there is no remote for the



   Chromecast Audio, or any way to directly control it. Again, just like the original Chromecast.




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   Performance




   I streamed music from Spotify to a Creative Sound Blaster Roar 2      ($149.95 at Amazon)   speaker



   through the Chromecast Audio with ease. On our FiOS test network, playback was as responsive as



   if my phone was directly connected to the speaker over Bluetooth; it took less than a second to play



   and pause tracks.




   Audio quality is excellent, as to be expected from a Wi-Fi audio connection. Of course, Bluetooth has



   made great strides in the last few years, and both standards can wirelessly stream music very



   clearly now. As is always the case, the main determining factor of your listening experience will be



   the speaker itself, likely influenced by the quality of the source media.




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   High-resolution audio is also supported thanks to a recent update. The Chromecast Audio can now



   stream up to 96KHz/24bit lossless audio from compatible devices (with apps that support the



   audio) to connected speakers, which makes the device an appealing option for Tidal fans



   and audiophiles.




                                                 ADVERTISEMENT




   The Chromecast Audio takes everything that makes the Chromecast handy, strips away video, and



   makes it possible to connect nearly any speaker to your Wi-Fi network for wireless music



   streaming. Most speaker systems today integrate Bluetooth or some other wireless connection



   standard, but Chromecast Audio lets you join them all in the same Google Cast-based ecosystem



   and avoid juggling Bluetooth pairing for every speaker. It also lets you turn any older speaker (with



   the right connection, or if you get the right adapters) into a wireless speaker, as well. If that isn't



   enough, you can now group multiple speakers together for whole room and whole home audio



   streaming. For $35, that's an incredible deal, and worthy of our Editors' Choice.




   Google Chromecast Audio

              4.5   EDITORS' CHOICE




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                                                           $79.96 at Walmart


                                                               MSRP $35.00




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   About Will Greenwald


   Lead Analyst, Consumer Electronics




   I’ve been PCMag’s home entertainment expert for over 10 years, covering both TVs and everything



   you might want to connect to them. I’ve reviewed more than a thousand different consumer



   electronics products including headphones, speakers, TVs, and every major game system and VR



   headset of the last decade. I’m an ISF-certified TV calibrator and a THX-certified home theater



   professional, and I’m here to help you understand 4K, HDR, Dolby Vision, Dolby Atmos, and even 8K



   (and to reassure you that you don’t need to worry about 8K at all for at least a few more years).




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